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17
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
18

19   SYMBOLOGY INNOVATIONS, LLC,                    CASE NO.: 3:20-cv-00252-LB
20                     Plaintiff,
                                                    JOINT STIPULATION AND
21   v.                                             [PROPOSED] ORDER OF
22
                                                    DISMISSAL WITHOUT
     FEENEY, INC.,                                  PREJUDICE
23
                       Defendant.
24                                                  JURY TRIAL DEMANDED
25

26

27
            IT IS HEREBY STIPULATED AND AGREED by Symbology Innovations, LLC

28
     (“Symbology”) and Feeney, Inc. (“Feeney”) by and through their undersigned
                                                 1
                                    DISMISSAL WITHOUT PREJUDICE
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 1   counsel, and subject to the approval of the Court, that pursuant to the Federal Rules
 2   of Civil Procedures 41(a)(1), all claims in this action between Symbology and
 3   Feeney are DISMISSED WITHOUT PREJUDICE, with each party to bear its own
 4   attorneys’ fees and costs.
 5

 6 Dated: February 21, 2020                          Respectfully submitted,
 7 /s/ Eugene Y. Mar                                 /s/ Kirk Anderson
 8
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16         SO ORDERED.
17
     Dated: __________________                ___________________________________
18                                            Honorable Laurel Beeler
19                                            United States Magistrate Judge
20

21

22
                                  CERTIFICATE OF SERVICE

23
           I hereby certify that on February 21, 2020, I electronically filed the above

24
     documents with the Clerk of Court using CM/ECF which will send electronic

25
     notification of such filings to all registered counsel.

26
                                                     /s/ Kirk Anderson
27                                                   Kirk J. Anderson (CA SBN 289043)
28

                                                 2
                                    DISMISSAL WITHOUT PREJUDICE
